
Upon consideration of the joint motion of respondents for scheduling of argument and for divided argument, and of the motion of the Solicitor General for leave to participate in oral argument as amicus curiaeand for divided argument in Nos. 14-449 and 14-450, the following allocation of oral argument time is adopted. A total of one hour is allocated for oral argument in No. 14-452, and on Question 1 in Nos. 14-449 and 14-450, to be divided as follows: 30 minutes for petitioner, 20 minutes for respondents Jonathan D. Carr and Sidney J. Gleason, and 10 minutes respondent Reginald D. Carr. A total of one hour is allocated for oral argument on Question 2 in Nos. 14-449, and 14-450, to be divided as follows: 20 minutes for petitioner, 10 minutes for the Solicitor General, 20 minutes for respondent Reginald D. Carr, and 10 minutes for respondent Jonathan D. Carr.
